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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                              Case # 3:00cr48-007LAC

JERROLD L. GUNN
                                                                  USM # 06790-017

                                                                  Defendant’s Attorney:
                                                                  Barry W. Beroset (Retained)
                                                                  1622 North 9th Avenue
                                                                  Pensacola, Florida 32503
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Counts One and Two of the Fifth Superseding Indictment on
January 16, 2008. Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such
counts which involve the following offenses:

       TITLE/SECTION                         NATURE OF                    DATE OFFENSE
          NUM BER                             OFFENSE                      CONC LUDED               COUNT

 18 U.S.C. § 371                  Cons piracy to Com m it W ire            June 30, 2000             One
                                  Fraud and Securities Fraud

 18 U.S.C. §§ 1956(h)             Conspiracy to Comm it Money              June 19, 2002             Two
 and 1957                         Laundering - E ngaging in
                                  Prohibited Mone tary
                                  Transaction s F rom Crim inally
                                  De rived P rope rty

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                                  Date of Imposition of Sentence:
                                                                  April 22, 2008

                                                                  s /L.A. Collier
                                                                  LACEY A. COLLIER
                                                                  SENIOR UNITED STATES DISTRICT JUDGE

                                                                  May 1, 2008
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                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 60 Months as to Count One and 91 months as to Count Two, with
Counts to run consecutively one with the other.

The Court recommends to the Bureau of Prisons: That defendant be designated to a facility near
his daughter in Lakeland, Florida

         The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                       UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
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                                             SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of Three Years as to Counts One and Two, with Counts to run concurrently one with the
other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

        The defendant shall not commit another federal, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

        The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                             STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.       The defe nda nt shall not leave the judicial district without the permission of the court or probation
         officer;

2.       The defe nda nt shall repo rt to the prob ation officer and shall submit a truthful and complete written
         report within the first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
         of the probation officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
         schooling, training, or other acceptable reasons;

6.       Th e de fendan t shall notify the pro bation office r at leas t 10 days prior to any change in residence or
         em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or adm inister any controlled substance o r any paraphernalia related to any controlled
         substances, except as prescribed by a physician;

8.       The defendant sh all not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not
         ass ociate with any person convicted of a felony unless granted permission to do so by the probation
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         officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at hom e or elsewhere and
         shall permit confiscation of any contraban d observe d in plain view of the proba tion officer;

11.      The defendant sh all notify the probation officer within 72 hours of being arrested or questioned by
         a law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court; and

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant’s c rim inal rec ord or pe rsonal histo ry or characteristic s and shall perm it
         the probation officer to mak e such notifications and to confirm the defendant’s compliance with such
         notifica tion req uirem ent.

14.      If this jud gm ent im poses a fine or a res titution obligation , it shall be a condition of supervision that the
         defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
         the C rim inal Mone tary Penalties she et of this judg m ent.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised
         release:

         The defendant shall pay any unpaid restitution balance during his term of supervised
         release at a rate of not less than $500 per month. Payments shall commence three months
         after the defendant’s release from imprisonment.

         The defendant shall provide the probation officer with access to any requested financial
         information. He shall report the source and amount of personal and/or business income
         and financial assets to the supervising probation officer as directed.

         The defendant shall not incur new credit charges or open additional lines of credit without
         the approval of the probation officer unless the defendant has satisfied his restitution
         obligation.

         The defendant shall not transfer or dispose of any asset, or his interest in any asset,
         without the prior approval of the probation officer unless the defendant has satisfied his
         restitution obligation.

         The defendant shall be precluded from working in any employment field (including self-
         employment) which involves the collection or solicitation of funds for investment
         purposes.
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       Upon a finding of a violation of probation or supervised release, I understand the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




         Defendant                                                       Date




         U.S. Probation Officer/Designated Witness                       Date
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                                    CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                Restitution

               $200.00                                       $0                 $27,460,673.28




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed and is to be paid immediately.
($100.00 each count)

No fine imposed.

                                                     RESTITUTION

Restitution is imposed in the amount of $27,460,673.28 to the victims identified in the
presentence report, with credit for $1,626,068.27 returned to the victims by the receiver
and also any money paid to date by the codefendants in this case.

Restitution in the amount of $27,460,673.28 is hereby ordered joint and several with the
codefendants in Dkt #3:00cr48LAC: Benjamin David Gilliland, William Harry West, Kenneth
Brian Cobb, David M. Bishara, Melody I. Rose, and William Scott Dohan, for the respective
amounts ordered in their cases.

Interest on restitution is hereby waived.
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                                          SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties $27,460,873.28 immediately, balance due as related below:

Breakdown of fine and other criminal penalties is as follows:
       SMA: $200.00 Restitution: $27,460,673.28

The $200.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and the restitution made while the defendant is incarcerated shall be made through
the Bureau of Prisons’ Inmate Financial Responsibility Program. The remaining balance shall
be paid as follows: In monthly installments of not less than $500.00 over a period of supervised
release to commence three months after release from imprisonment.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.
